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                            PERSONNEL – DEFINITIONS

       The Board will maintain standard definitions of employment and will classify employees
in accordance with these definitions, unless otherwise stated by policy or the Code of Virginia.

   A. Classified Employees

           Classified personnel are those employees of the Board who are not contracted
           teachers. These employees are normally paid on the Albemarle County
           administrative/classified pay scale or other approved scale. Exceptions must be
           approved by the Director of Human Resources/designee.

   B. Employees of the Board

       "Employees of the Board" means all persons working for the Board in exchange for
       money, except for independent contractors, volunteers, and employees of Partner
       Agencies. All unspecified references to “employees” shall refer to all the employees of
       the Board except the Albemarle County Superintendent of Schools. All employees of the
       Board, excluding those who have written contracts, are “employees at-will” and may be
       dismissed from employment at any time, with or without cause.

   C. Licensed Administrators

       Licensed administrators are those classified employees who work in
       leadership/supervisory capacities, are normally paid on the administrative/classified pay
       scale, are issued written contracts, and are required by the Virginia Department of
       Education to hold a valid license issued by the Commonwealth of Virginia for their
       positions.

   D. Non-Licensed Administrators

       Non-licensed administrators are those classified employees who work in
       leadership/supervisory capacities and are normally paid on the administrative/classified
       pay scale. They are not issued written contracts and are not required by the Virginia
       Department of Education to hold licenses for their positions.

   E. Partner Agency

       A Partner Agency is a public agency/organization which is on the Albemarle County
       Public Schools and Albemarle County Local Government financial systems, including
       payroll, and has agreed in writing to follow some or all Albemarle County Public Schools
       and/or Albemarle County Local Government policies. Employees of Partner Agencies
       remain employees of their respective Partner Agencies. They are not employees of
       Albemarle County Public Schools or Albemarle County Local Government and are not
       entitled to any of the rights, privileges, or benefits related to employment with either



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       unless otherwise agreed upon in writing by the Board/designee or expressly provided by
       policy.

   F. Substitute Teacher

       Those temporary employees who are (i) who is employed to substitute for a contracted
       teacher for a temporary period of time during the contracted teacher's absence or (ii) GCA
       one who is employed to fill a teacher vacancy for a period of time, but for no longer than
       90 teaching days in such vacancy, unless otherwise approved by the State Superintendent
       of Public Instruction on a case-by-case basis, during one school year.

   G. Teachers

       “Teacher” shall mean a person who holds a is required to hold a valid teaching or
       specialist license and/or is paid on the teacher pay scale. Teachers are issued contracts
       and license waivers in accordance with the Code of Virginia and the Virginia Department
       of Education.

   H. Temporary Employees

       Temporary employees are those hired for a specific period of time or for the duration of a
       specific project, activity, or group of assignments. Employees working as substitutes in
       the absence of incumbents for regular positions are also considered temporary employees.
       Pay is based upon an established or agreed-upon rate exclusive of the teacher pay scale or
       the administrative/classified pay scale. Employment Agreements may be entered into to
       establish terms and conditions of employment and any benefits provided.



Adopted:      July 1, 1993
Amended:      July 8, 1996; December 8, 1997; August 16, 2004; January 27, 2011; October 11,
              2012; January 22, 2015; October 18, 2018


Legal Ref.:   Code of Virginia, 1950, as amended, §§ 22.1-78, 22.1-293; 22.1-295; 22.1-313.

              8 VAC §§20-440-10 et seq.

Cross Ref.:   GC, Licensed Staff
              GCB, Licensed Staff Contracts
              GCG, Licensed Staff Probation and Tenure




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